






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-01-038 CV


____________________



EDWARD G. EZRAILSON, Appellant



V.



ROD J. ROHRICH, LARRY H. HOLLIER, and JACK B. ROBINSON, Appellees






On Appeal from the 221st District Court


Montgomery County, Texas


Trial Cause No. 97-06-02489 CV






OPINION



	Three medical science researchers, employed by the University of Texas
Southwestern Medical Center in Dallas, wrote an article published in a September 1996
medical journal.  Appellant Edward G. Ezrailson sued them for libel.  The three
researchers obtained a summary judgment and Ezrailson filed this appeal.  

	Two of the researchers, Rod J. Rohrich and Larry H. Hollier, are medical doctors,
and the other, Jack B. Robinson, has a Ph.D. in biochemistry.  Ezrailson has a Ph.D. in
biochemistry.  This case concerns libel law in the field of medical science research.  

 Bases for the Summary Judgment


	The summary judgment does not specifically state the grounds on which it was
granted; under such circumstances an appellate court must affirm a summary judgment if
any of the asserted summary judgment grounds are meritorious.  See FM Properties
Operating Co. v. City of Austin, 22 S.W.3d 868, 872-73 (Tex. 2000).  The grounds stated
in appellees' motion are as follows:

	     First, the article at issue does not refer to Plaintiff, let alone defame him. 
Second, the article itself is qualifiedly privileged, it was written about a topic
of medical importance and communicated to the appropriate medical
community.  Third, the university research scientists who wrote the article,
as state employees, are entitled to a grant of qualified immunity because they
acted in good faith and within the course and scope of their employment. 
Finally, the statements about which Ezrailson complains are either
substantially true or simply statements of opinion, and not fact.  In the
alternative, Plaintiff has no evidence that the statements are false, an
essential element of his claim.


We consider dispositive the arguments that the medical science research article at issue
here is not libelous because it discusses an assay -- a medical science research test -- rather
than plaintiff personally and because, as the motion states, "[i]n libel actions where the
topic at issue is a matter of public health and medicine, such as the test claiming to detect
breast implant leakage in this case, opinions on the issue must be protected."  (Footnote
omitted).  We conclude the medical science research article is not reasonably capable of
a defamatory meaning.  

The Constitution


	Opinions concerning issues of public concern are at the heart of the protection
afforded by the First Amendment to the United States Constitution.  See Dun &amp; Bradstreet,
Inc. v. Greenmoss Builders, Inc., 472 U.S. 749, 758-59, 105 S.Ct. 2939, 86 L.Ed.2d 593
(1985).  However, the First Amendment does not provide absolute protection to all
statements of "opinion"; opinions that imply statements of fact do not receive absolute
protection.  See Milkovich v. Lorain Journal Co., 497 U.S. 1, 18-20, 110 S.Ct. 2695, 111
L.Ed.2d 1 (1990); see generally Robert D. Sack, Protection of Opinion Under the First
Amendment: Reflections on Alfred Hill, "Defamation and Privacy Under the First
Amendment," 100 Colum. L. Rev. 294 (2000).

	Article I, section 8, of the Texas Constitution, the State's counterpart to the First
Amendment, provides in part that "[e]very person shall be at liberty to speak, write or
publish his opinions on any subject, being responsible for the abuse of that privilege; and
no law shall ever be passed curtailing the liberty of speech or of the press."  The Texas
Supreme Court has reserved decision on whether the Texas Constitution affords greater
protection to a statement of opinion than the protection afforded by the First Amendment. (1) 
See Turner v. KTRK Television, Inc., 38 S.W.3d 103, 122 n.5 (Tex. 2000); see generally
Charles W. "Rocky" Rhodes, A Proposal for Interpreting Corresponding United States
and Texas Constitutional Guarantees in the New Millennium, 51 Baylor L. Rev. 269
(Spring 1999).

Standard of Review


	Although both a no-evidence and a traditional motion for summary judgment were
filed in this case, our analysis is under the traditional standard.  The standard of review
of a summary judgment in a defamation case is the same as in other summary judgment
cases, despite the presence of constitutional considerations.  See Casso v. Brand, 776
S.W.2d 551, 556-57 (Tex. 1989).  A summary judgment for a defendant will be upheld
when the defendant negates an essential element of plaintiff's theory of recovery.  See
Science Spectrum, Inc. v. Martinez, 941 S.W.2d 910, 911 (Tex. 1997).  In reviewing a
summary judgment, an appellate court must take as true the evidence favorable to the
nonmovant.  Id.  Summary judgment is appropriate when a dispositive question of law is
involved.  See Lear Siegler, Inc. v. Perez, 819 S.W.2d 470 (Tex. 1991).  Whether an
unambiguous statement is reasonably capable of defamatory meaning is a dispositive
question of law in a libel case.  See Musser v. Smith Protective Servs., Inc., 723 S.W.2d
653, 655 (Tex. 1987). 

The Threshold Legal Issue


	Libel is defined by statute as a "defamation expressed in written or other graphic
form that tends to . . . injure a living person's reputation and thereby expose the person
to public hatred, contempt or ridicule, or financial injury or to impeach any person's
honesty, integrity, virtue, or reputation or to publish the natural defects of anyone and
thereby expose the person to public hatred, ridicule, or financial injury."  Tex. Civ. Prac.
&amp; Rem. Code Ann. § 73.001 (Vernon 1997).  In order to be libelous, a statement must be
capable of having a defamatory meaning.  See Musser, 723 S.W.2d at 655.  

	In a libel action, the trial court initially must determine as a matter of law whether
the words used are reasonably capable of defamatory meaning by considering the alleged
defamatory statement as a whole and in light of the surrounding circumstances; the
determination is based upon how a person of ordinary intelligence would perceive the
entire statement.  Id. at 654-55.  "The question should not be submitted to the jury unless
the language is ambiguous or of doubtful import."  See Garcia v. Burris, 961 S.W.2d 603,
605 (Tex. App.--San Antonio 1997, pet. denied).  The statements alleged to be defamatory 
must be viewed in their context; they may be false, abusive, unpleasant, or objectionable
to the plaintiff and still not be defamatory in light of the surrounding circumstances.  See
San Antonio Express News v. Dracos, 922 S.W.2d 242, 248 (Tex. App.--San Antonio
1996, no writ).  The entire communication -- not mere isolated sentences or portions --
must be considered.  See Musser, 723 S.W.2d at 655.  Appellees asserted in their motion
for summary judgment that the article was an opinion on a matter of public health and
medicine and, thus, protected; and they asserted that the article concerned the assay, not
Ezrailson personally.  In essence, appellees claim the opinions, as expressed in their
article, are not reasonably capable of a defamatory meaning.  This is a question of law.  	In his reply brief Ezrailson contends the "incapable of defamatory meaning" issue
was not urged by appellees as a ground in their summary judgment motion; therefore,
summary judgment could not have been granted on a ground not contained in the motion. 
See Stiles v. Resolution Trust Corp., 867 S.W.2d 24, 26 (Tex. 1993).  We agree with his
statement of the law.  However, we read the motion for summary judgment as including
the issue.  Appellees have not raised it for the first time on appeal.  The motion for
summary judgment urges "the article at issue does not refer to Plaintiff, let alone defame
him."  Appellees also contend the article is an expression of opinion and is, therefore, not
actionable.  The motion also states generally that "[w]hether statements are expressions of
opinion or are actionable assertions of fact is a question of law to be determined by the
court."  The motion urged that the opinions concerned matters of public health and that
opinions in that area must be protected.  By maintaining the article is an assertion of
protected opinion concerning a public health matter rather than an actionable false assertion
of fact and by correctly stating that the issue is one of law to be determined by the court,
appellees effectively asserted a summary judgment ground that required the trial court --
and now this Court -- to analyze the motion under the construct of whether the research
article is capable of a defamatory meaning.  That is the threshold legal issue we must
confront.  We affirm the summary judgment on this legal issue. 

The Surrounding Circumstances


	Ezrailson co-authored an article in 1993 which suggested that patients with breast
implants have elevated levels of antibodies that react with silicone.  The assay used in the
study was one that Ezrailson personally researched and developed as chief executive
officer of Emerald Biomedical Sciences ("Emerald").  The hypothesis of Ezrailson's article
was that the Emerald assay could be helpful in determining whether breast implants were
leaking silicone gel into the body.  Emerald sought to market the assay, but its efforts were
frustrated by an assessment by the United States Food and Drug Administration ("FDA")
that the assay had not been proven effective.  

	Some three years later, appellees published their article based on their research
study focusing on the theory of the "immunogenicity of silicone."  The theory has medical
science significance; if it is determined that silicone is antigenic, i.e., causes the body to
form antibodies directed against the presence of silicone, such a finding would impact the
use in humans of implantable devices that use hard silicone.  Appellees did not conduct
their study with Emerald's assay, but instead used a modification of an earlier assay
referred to in the article as the Goldblum ventriculoperitoneal (VP) shunt assay.  Their
1996 article expressed the opinion that the effectiveness of silicone antibody assays, and,
by implication, Emerald's assay in particular, was questionable.  Emerald Biomedical
Sciences, not Ezrailson, was expressly named in the article as the developer of an assay
similar to the Goldblum assay; a modification of the Goldblum assay was used by appellees
in their research.  Ezrailson was named in a footnote as one of the authors of the above-described 1993 article. 

	Appellees' article was published in a medical science journal.  Ezrailson complained
to appellees' employer, a state medical research university.  The university conducted an
independent evaluation of the appellees' research and writing and concluded that the work
was sloppy, contained careless mistakes, and did not support appellees' conclusion that the
Emerald assay was ineffective.  Appellees' article was publicly retracted.  Appellees
apologized in writing to Ezrailson.   



					The Public Issue

	Appellees attached as summary judgment evidence another article referencing the
Emerald assay; this one was published by the American Council on Science and Health,
Inc. in February 1996, some seven months before appellees published their article.  In the
article, which was entitled "Silicone Breast Implants: Why Has Science Been Ignored?",
the author noted that Dr. Noel Rose of Johns Hopkins University "repeatedly" tested
Emerald's assay and "repeatedly" found it to be ineffective.   

	Appellees also attached as summary judgment proof a February 1996 "Notice to
Readers" from the Centers for Disease Control and Prevention (CDC).  Published in the
Morbidity and Mortality Weekly Report, the Notice is entitled "Diagnostic Tests for
Silicone Breast Disease" and reads as follows:

	     During August 1992, the Food and Drug Administration (FDA) became
aware of diagnostic testing profiles offered by commercial laboratories for
evaluating silicone breast disease. . . .

	    None of these products have been cleared (510k process) or approved
(Premarket Approval) by the FDA. Their diagnostic accuracy is not
established, and the value and usefulness of these tests remain speculative. 
In managing patients with silicone breast implants, the Public Health Service
advises clinicians to continue to rely on established techniques: history,
physical examination, conventional and established laboratory tests for
immunologic disease, and radiologic imaging.  

		In some instances, tests for silicone breast disease are being marketed
under a label "For Research Use Only; not for Use in Diagnostic
Procedures."  These tests are intended for research use and should not be
used for patient diagnosis or management. . . .  

According to Ezrailson's deposition testimony, the February 1996 Notice encompassed the 
Emerald type of assay.  As expressed in the CDC notice, the FDA had already indicated
the safety and effectiveness of an assay such as Emerald's would have to be established
before it could be legally marketed.  The FDA warned that "[a]ny commercial distribution
of this device" prior to appropriate FDA approval would be illegal.  The last test using the
Emerald assay occurred on April 20, 1996, after the issuance of the "Notice" quoted above
and before publication of appellees' article.  

Ezrailson's Objections


	Ezrailson complains that the article "Silicone Breast Implants: Why Has Science
Been Ignored?" is hearsay.  We disagree.  The existence of the article itself, rather than
the truth of the matters asserted in the article, is the relevant evidence here.  See Tex. R.
Evid. 801(d) ("'Hearsay' is a statement, other than one made by the declarant while
testifying at the trial or hearing, offered in evidence to prove the truth of the matter
asserted.").  The existence of the article, even if we assume the substantive matters stated
in it are incorrect, evidences a public controversy existed in the medical science field
concerning the subject matter of appellees' article.  See generally Butler v. Hide-A-Way
Lake Club, Inc., 730 S.W.2d 405, 411 (Tex. App.--Eastland 1987, writ ref'd n.r.e.). 

	Ezrailson contends the trial court erred in overruling his objection to four affidavits
attached by appellees as summary judgment proof.  The affidavits were those of the three
appellees (Rohrich, Hollier, and Robinson) and Dr. Robert S. Munford.  Arguing that the
affidavits contain opinions and conclusions of undesignated experts, Ezrailson contends the
summary judgment proof was not competent.  Ezrailson's complaint has no merit.  We
note simply that Rule 166a of the Texas Rules of Procedure sets forth rules applicable to
summary judgment practice.  See Tex. R. Civ. P. 166a.  It has been held that in a
summary judgment proceeding there is no duty to supplement answers to interrogatories
in order to use an affidavit of a previously undisclosed witness.  See Purvis Oil Corp. v.
Hillin, 890 S.W.2d 931, 939 (Tex. App.--El Paso 1994, no writ).  Another court similarly
held that the rules of discovery and sanctions for failure to designate expert witnesses do
not apply to summary judgment proceedings.  See State v. Roberts, 882 S.W.2d 512, 514
(Tex. App.--Austin 1994, no writ).  Furthermore, here three of the affiants were parties
to the litigation.  These witnesses were fact witnesses and their affidavits also set forth
relevant facts.  Dr. Munford was also a fact witness whose identity, area of knowledge,
and expertise were known to Ezrailson because he was the chair of the panel that
investigated Ezrailson's complaints and recommended retraction of the article.

	Both in his brief and reply brief, Ezrailson alleges various evidentiary and briefing
errors.  First, he contends that appellees' arguments in their brief improperly rely on
evidence that Ezrailson submitted as summary judgment proof.  His argument has no
merit.  We find nothing in the rules or case law that would preclude appellees from
arguing on appeal based on the nonmovant's own summary judgment evidence the trial
court was asked to consider.  See Tex. R. Civ. P. 166a.  Second, Ezrailson contends
appellees refer in their brief to evidence not found in the record.  He points out that he was
the party who submitted Rohrich's deposition excerpts and that his submission included
only the bracketed portions of testimony on any given page.  We find nothing in the record
to explain the brackets, and we will not accept a declaration of fact outside the record as
an explanation of what is in the record.  Third, Ezrailson complains of the trial court's
ruling on appellees' objections to his affidavit.  He argues the trial court's ruling lacks
specificity and therefore amounts to a non-ruling because the ruling is unclear.  If
Ezrailson considered the trial court's ruling to be inadequate, it was his responsibility to
timely object or call it to the trial court's attention in some manner.  See Tex. R. App. P.
33.1.  Having failed to do so, the issue is waived.  Moreover, in his reply brief Ezrailson
acknowledges that the same evidence was contained elsewhere in the record.  Any error
in admitting evidence is harmless if the same evidence appears elsewhere in the record. 
See Gee v. Liberty Mut. Fire Ins. Co., 765 S.W.2d 394, 396 (Tex. 1989).  

The Medical Science Article


	Appellees' article begins with a brief discussion of a controversy within the medical
science community concerning breast implants.  The questions addressed by appellees were
whether silicone causes the body to form antibodies directed against silicone present in the
body (whether the silicone is in the form of VP shunts or breast implants) and whether
these antigen-antibody complexes cause systemic symptoms in the breast implant patient. 
The second paragraph of the article references a study done on the sera of patients with
ventriculoperitoneal (VP) shunts (a shunt tubing made of silicone) and sets out in summary
form the finding of the study.  

	Although Ezrailson points to numerous statements in the article as false, it is the
third paragraph of the article which contains the following linchpin statement that Ezrailson
attacks as defamatory: 

	   The assay used to determine the level of antibodies in the VP shunt
experiment was similar to an enzyme-linked immunosorbent assay (ELISA)
developed by Emerald Biomedical Sciences and termed a silicone activity
reactivity assay (SARD).  (footnote omitted). 


The article states that the assay used in the VP shunt (a modification of which the appellees
used in their research) is similar to the Emerald assay developed by Ezrailson.  Ezrailson
maintains the assays are not similar, and the statement and the conclusions derived from
it are false and defamatory.

	After noting the similarity of the two assays, the article then points out a difference. 
While the Emerald assay "apparently was developed to detect ruptures of silicone breast
implants" and "to quantitate the level of immune response in breast implant patients," 
appellees' investigation studied the level of antisilicone antibodies in a group of patients
undergoing tissue expansion with saline-filled silicone shell expanders to quantitate the
antibody response, if any, to the presence of the silicone shell alone.  

	Following the introduction pointing out a similarity and a difference between the 
assays, the article then describes the "Methods and Materials" used by appellees in their
study, the results obtained, and the conclusions reached.  Appellees' conclusions were as
follows:

	   These results, especially the variability and lack of response on dilution,
raise questions about the validity and reproducibility of the ELISA assay and
all of the data published using it to quantify antibody levels in patients with
silicone exposure.  Certainly, the stated purpose of the assay, to detect
implant rupture, must be called into question.  Pending further study of this
ELISA, no firm conclusions should be drawn from previous results, and
certainly no clinical decisions.  

As noted above, Ezrailson maintains the statement of similarity is false, and the
conclusions that by inference apply to him, are likewise false and serve to defame him. 
We agree that the conclusions reached by the article are referable to the Emerald assay;
however, as a matter of law the medical science research article is not reasonably capable
of defamatory meaning.

	In Milkovich, the United States Supreme Court held that there exists no "wholesale
defamation exemption for anything that might be labeled 'opinion.'" Milkovich, 497 U.S.
at 18.  One underlying rationale for the Milkovich holding was that expressions of opinion
may be more than expressions of ideas; expressions of opinions sometimes imply assertions
of objective facts that may be actionable in a defamation suit.  Id., 497 U.S. at 18-19.  To
be defamatory the statement must be false.  See Musser, 723 S.W.2d at 655. Here, the
authors' hypothesis that the two assays are similar implies an assertion of fact -- namely
a sharing of common characteristics.

	During deposition testimony, Dr. Rohrich pointed out that the statement declaring
the two assays to be similar is substantially true, because the two assays are both ELISAs
(enzyme-linked immunosorbent assays) that test for silicone antibodies.  Although
Ezrailson at one point in his deposition denies their similarity, at another point he
acknowledges it.  The foundational similarity is beyond any real dispute; considering the
world of medical science, these two assays both attempt to determine the presence of
silicone antibodies and both are enzyme-linked immunosorbent assays. 

	However, uncontradicted summary judgment evidence also establishes significant
differences between the assays.  As part of his summary judgment proof, Ezrailson offered
the Panel Report from the University of Texas Southwestern Medical Center, which
convened a panel of experts from the school to examine the allegations against appellees. 
Appellees offered as summary judgment evidence their apology letter to Ezrailson and their
retraction article published in the Journal of the American Association of Plastic and
Reconstructive Surgeons, Inc.  All three documents categorically state the assays are
"substantially different" (Panel Report), "completely different" (apology letter), or "not
related in any manner or fashion" (retraction article).  The retraction article explains in
detail how the materials and methodology in the two assays are different.

	Though the evidence clearly and concretely establishes dissimilarities between the
assays, this evidence does not serve to negate or even raise a fact issue regarding the
indisputable overarching area of similarity: in the world of medical science, both assays
are ELISAs which attempt to look for the body's reaction to the presence of silicone.  That
foundational similarity is not dispositive, however.  The more complex meaning of the
statement of similarity -- namely that the assays are sufficiently similar to warrant the
conclusion that the results of appellees' experiment with their assay could be used to judge
the effectiveness of the Emerald assay -- is conceded by appellees to be erroneous.

	We believe this incorrect, more complex meaning is not reasonably capable of
defamatory meaning.  The more complex meaning states an hypothesis; the statement is
a scientific medical proposition that forms a partial basis for appellees' criticism of 
silicone antibody assays.  To the extent the article refers to Ezrailson at all, the reference
to him questions his ideas which resulted in the assay.  The gist of the article is a criticism
of Ezrailson's medical science ideas.    

Criticism of Medical Science Ideas


	As we have noted, whether words are capable of a defamatory meaning is a
threshold question of law for the court.  See Campbell v. Salazar, 960 S.W.2d 719, 725
(Tex. App.--El Paso 1997, pet. denied).  Whether any statement of fact implied by an
opinion is reasonably capable of defamatory meaning must also be determined by the
court.  See Turner, 38 S.W.3d at 114.  In Musser, the Texas Supreme Court explained as
follows:  

	    The law in the area of libel is well settled.  In trying a libel action, the
initial question for determination is a question of law to be decided by the
trial court: were the words used reasonably capable of a defamatory
meaning.  The court construes the statement as a whole in light of
surrounding circumstances based upon how a person of ordinary intelligence
would perceive the entire statement.  Only when the court determines the
language is ambiguous or of doubtful import should the jury then determine
the statement's meaning and the effect the statement's publication has on an
ordinary reader.  The threshold question then, which is a question of law, is
whether [the statements] are reasonably capable of a defamatory meaning.


Musser, 723 S.W.2d at 655 (citations omitted).  In making this threshold legal
determination, a trial court must determine how a person of ordinary intelligence would
perceive the entire statement (i.e., the article)in light of all the surrounding circumstances. 
See Marshall v. Mahaffey, 974 S.W.2d 942, 950 (Tex. App.--Beaumont 1998, pet.
denied).  If the language is not ambiguous, it is "the duty of the trial court to determine
whether it [is] libelous or not."  Taylor v. Houston Chronicle Publ'g Co., 473 S.W.2d
550, 554 (Tex. Civ. App.--Houston [1st. Dist.] 1971, writ ref'd n.r.e.).  

	Appellees' article is not ambiguous.  Appellees asserted the VP shunt assay was
similar to the Emerald assay.  Since appellees used a modification of the VP shunt assay
in their study, any conclusions of ineffectiveness they derive from their experiment are by
inference referable to Emerald's assay.  

	At the time of the article's publication in 1996, a medical science controversy over
a public health issue was brewing; the effectiveness of silicone antibody assays was being
questioned and cast into doubt in the medical science field.  Based on these surrounding
circumstances, no person of ordinary intelligence would perceive the article as defaming
Ezrailson personally.

	Scientists continuously call into question and test hypotheses and theories; this
questioning advances knowledge.  In another context, the United States Supreme Court has
described scientific conclusions as "subject to perpetual revision."  See Daubert v. Merrell
Dow Pharms., Inc., 509 U.S. 579, 597, 113 S.Ct. 2786, 125 L.Ed.2d 469 (1993).  The
Court noted:

	The scientific project is advanced by broad and wide-ranging consideration
of a multitude of hypotheses, for those that are incorrect will eventually be
shown to be so, and that in itself is an advance.    


Id.  Here, appellees' hypothesis was shown to be incorrect; "and that in itself is an
advance."  Id.  If advancement in medical scientific knowledge is essential to society,
"inquiries into these problems, speculations about them, stimulation in others of reflection
upon them, must be left as unfettered as possible."  See Sweezy v. New Hampshire, 354
U.S. 234, 262, 77 S.Ct. 1203, 1 L.Ed.2d 1311 (1957) (Frankfurter, J., concurring).  

	In making the threshold determination of whether a medical science article is
reasonably capable of defamatory meaning in light of surrounding circumstances, we
believe a court should weigh the need to protect intellectual reputation against society's
great need to permit an unfettered discussion of medical science hypotheses.  Certainly
statements are not immune from the control of defamation law merely because they appear
in medical science articles.  However, in the area of medical science research, criticism
of the creative research ideas of other medical scientists should not be restrained by fear
of a defamation claim in the event the criticism itself also ultimately fails for lack of merit. 
We believe calling the medical science research article here defamatory would serve to
unduly restrict the free flow of ideas essential to medical science discourse.  

Conclusion  


	We conclude as a matter of law that the statements in appellees' medical science
article were not defamatory.  See generally Spelson v. CBS, Inc., 581 F. Supp. 1195, 1202
(N.D. Ill. 1984), aff'd without op., 757 F.2d 1291 (7th Cir. 1985) (noting that the subject
matter, medical science, is at best an inexact science in which numerous and widely varied
approaches and philosophies exist).  The essence of the article is that appellees' study
raised doubts about and called into question the validity of both appellees' and Emerald's
assays, and the article urged that the ELISA assays should not be relied upon until further
study was conducted.  The article was published in the context of a discussion in the
medical science community of ideas relating to public health -- ideas which are not only
of great concern to the medical science community but to the public at large.  The article
expressed disagreement with Ezrailson's medical science ideas, and therefore "belongs to
the language of controversy rather than to the language of defamation."  See Dilworth v.
Dudley, 75 F.3d 307, 310 (7th Cir. 1996) ("[S]cholars have their own remedies for unfair
criticisms of their work -- the publication of a rebuttal."); Underwager v. Salter, 22 F.3d
730, 736 (7th Cir. 1994) ("Scientific controversies must be settled by the methods of
science rather than by the methods of litigation.").  Because appellees' medical science
research article is not reasonably capable of defamatory meaning, we affirm the trial
court's judgment.  Since we affirm the trial court's judgment on this basis, we need not
address issues raised concerning other grounds contained in the motion for summary
judgment.  

	AFFIRMED. 

							____________________________________

								 DAVID B. GAULTNEY

									   Justice

											


Submitted on September 20, 2001

Opinion delivered December 27, 2001

Publish


Before Walker, C.J., Burgess and Gaultney, JJ.

	
1. In this case, neither party has briefed whether the Texas Constitution provides
greater protection for opinions than the United States Constitution. We also note that
neither party has briefed whether Ezrailson is a limited purpose public figure, although he
has authored at least one published article on the relevant subject matter and has appeared
as a speaker on the topic at seminars for research scientists.  Because of the lack of
briefing on appeal and at the trial court, we do not address those legal issues.


